
PER CURIAM.
*240Affirmed. I.B. v. State, 239 So.3d 773, 774 (Fla. 3d DCA 2018) ("We review de novo the trial court's denial of a judgment of dismissal, ... and consider the evidence presented, and the reasonable inferences therefrom, in a light most favorable to the State, to determine whether substantial competent evidence supports the trial court's determinations.") (citation omitted) ; R.I. v. State, 561 So.2d 26, 26 (Fla. 3d DCA 1990) ("We find that the trial court was in a better position to evaluate the conduct and credibility of the witnesses, and that the record demonstrates competent substantial evidence to support the adjudication of delinquency.").
